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 Memorandum                                                          12/12/2024
            2:24-cr-483(A)-HDV
                                                                         ASI

                                                     Date:
 Subject:
                                                     December 10, 2024
 United States v. Samir Ousman Alsheikh
                                                     From:
 To:
                                                     JOSHUA O. MAUSNER
 KIRY K. GRAY
                                                     Assistant United States Attorney
 Clerk, United States District Court
                                                     Criminal Division
 Central District of California

The above-referenced matter, being filed on December 12, 2024,

             x Relates to (1) a matter that was pending in the USAO on or before January 13, 2023,
             the date the Honorable Stephanie S. Christensen resigned from her position as the First
             Assistant United States Attorney for the Central District of California; or (2) a matter in
             which Stephanie S. Christensen was personally involved or about which she was
             personally consulted while employed in the USAO (between April 2008 and July 2023).




                                                       JOSHUA O. MAUSNER
                                                       Assistant United States Attorney
